                                                                                    Sealed # 2


                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


 UNITED STATES OF AMERICA,                        No.   2:21-cr-4072-BCW

                               Plaintiff,         COUNT 1
                                                  21 U.S.C. § 841(a)(1)
        v.                                        NMT 20 Years Imprisonment
                                                  NMT $1,000,000 Fine
 LARRY WAYNE DOTSON,                              NLT 3 Years Supervised Release
 [DOB: 05/07/1962]                                Class C felony

                               Defendant.         COUNT 2
                                                  18 U.S.C. § 922(g)(1)
                                                  NMT 10 Years Imprisonment
                                                  NMT $250,000 Fine
                                                  NMT 3 Years Supervised Release
                                                  Class C Felony

                                                  $100 Special Assessment


                                      INDICTMENT

THE GRAND JURY CHARGES THAT:

                                           COUNT 1
                    (Possession with Intent to Distribute Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(C)

       On or about July 17, 2020, within Callaway County, in the Western District of Missouri,

the defendant LARRY WAYNE DOTSON, knowingly and intentionally possessed with intent to

distribute methamphetamine, a schedule II controlled substance, all in violation of Title 21 United

States Code, Sections 841(a)(1) and (b)(1)(C).

                                         COUNT 2
             (Unlawful User of a Controlled Substance in Possession of a Firearm)
                            18 U.S.C. § 922(g)(1) and § 924(a)(2)

       On or about July 17, 2020, within Callaway County, in the Western District of Missouri,

the defendant, LARRY WAYNE DOTSON knowing he was an unlawful user of a controlled

substance as defined in Section 102 of the Controlled Substances Act, knowingly possessed, in


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and affecting commerce, a firearm, that is, 1911 .22 caliber handgun, bearing serial number

13E6794; all in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

                                             A TRUE BILL.



                                             /S/ Casey Castrop
                                             FOREPERSON OF THE GRAND JURY


/S/ Ashley S. Turner
Ashley S. Turner
Assistant United States Attorney
Missouri Bar No. 623145

Dated: 10/19/2021




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